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               IN THE UNITED STATES DISTRICT COURT FOR THE

                          DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                  4:02CR3049
                              )
          v.                  )
                              )
DAVID W. LOTT,                )                       ORDER
                              )
               Defendant.     )
______________________________)


           This matter is before the Court on the motion of

Michael F. Maloney and the office of the Federal Public Defender

to withdraw as counsel for defendant (Filing No. 131).                The Court

finds the motion should be granted.         Accordingly,

           IT IS ORDERED that said motion is granted; Michael F.

Maloney and the office of the Federal Public Defender are deemed

withdrawn as counsel for defendant.

           DATED this 19th day of September, 2008.

                                    BY THE COURT:

                                    /s/ Lyle E. Strom
                                    ______________________________
                                      LYLE E. STROM, Senior Judge
                                      United States District Court
